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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Fred L Nance Jr
                                     Plaintiff,
v.                                                       Case No.: 1:20−cv−06316
                                                         Honorable Jorge L. Alonso
Department of Justice, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 25, 2022:


        MINUTE entry before the Honorable Beth W. Jantz: At Plaintiff's request and by
agreement of defense counsel, the telephone status set on 09/01/2022 is cancelled and
reset to 09/07/2022 at 10:15 a.m. Call in information to remain. Mailed notice. (as, )




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